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     Attorneys for Plaintiff
 6   ELIZABETH K. FERREIRA
 7                         IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEVADA
 8
     ELIZABETH K. FERREIRA,                       )   Case No. 2:17-cv-02361-JAD-NJK-
 9
                                                  )
                          Plaintiff,              )
10
     v.                                           )
                                                      NOTICE OF DISMISSAL AS TO
                                                  )
11                                                    DEFENDANT NUVISION
                                                  )   FEDERAL CREDIT UNION ONLY
     AURORA BANK, FSB; ENERGY FIRST
                                                  )
12   CREDIT UNION; NUVISION FEDERAL               )
     CREDIT UNION; EQUIFAX                        )
13   INFORMATION SERVICES, LLC,                   )
                                                  )
14                        Defendants.

15          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Defendant NUVISION FEDERAL CREDIT

16   UNION, not having filed or served an answer or a motion for summary judgment; the Plaintiff in

17   the above-entitled action, as to Defendant NUVISION FEDERAL CREDIT UNION, and only

18   as to Defendant NUVISION FEDERAL CREDIT UNION authorizes, and directs the Clerk of

     the Court to enter a judgment of dismissal against Defendant NUVISION FEDERAL CREDIT
19
     UNION.
20
            Dated:        January 4, 2018
21
                                         Respectfully submitted,
22
                                         By:    /s/David H. Krieger, Esq.
23                                              David H. Krieger, Esq. (Nevada Bar No. 9086)
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